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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                CASE NO. 8:11-cr-366-T-30TBM

    ROGER LEE SHOSS


                   ORDER ON JOINT MOTION TO APPROVE PAYOFF

            THIS CAUSE comes before the Court upon the Joint Motion to Approve

    Payoff (Doc. 252) and the Court, having reviewed the Motion and being otherwise

    duly advised that the United States of America and Bank of America agree to the

    entry of this Order, it is,

           ORDERED that:

           1.      The Joint Motion to Approve Payoff (Doc. 252) is GRANTED.

           2.      The United States hereby recognizes the interest of Bank of America

    and agrees to pay the following expenses due and owing Bank of America as of

    May 22, 2014:

                   a.      Principal balance of $296,084.14;

                   b.      Interest in the amount of $32,110.92 through May 22, 2014,
                           and any additional interest due and owing at the rate of
                           $48.67 per diem up to and including the date of payment;

                   c.      Fee for recording a satisfaction of mortgage in the
                           amount of $16.00; and

                   d.      Escrow balance of $29,680.87.
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             3.        The payment to Bank of America shall be in full settlement and

    satisfaction of any and all claims by Bank of America to the Property and all claims

    resulting from the incidents or circumstances giving rise to this action.

             4.        Upon payment, Bank of America agrees to record a satisfaction of

    mortgage and to release and hold harmless the United States, and any agents,

    servants, and employees of the United States (or any state or local law

    enforcement agency) acting in their individual or official capacities, its servants and

    employees, its heirs, successors or assigns from any and all actions, causes of

    action, suits, proceedings, debts, dues, contracts, judgments, damages, claims

    and/or demands whatsoever in law or in equity which Bank of America, its heirs,

    successors, or assigns ever had, now have, or may have in the future in connection

    with any action, civil or criminal, involving the property that is the subject of this

    agreement.

             DONE AND ORDERED in Chambers in Tampa, Florida on May 12th, 2014.




    Copies to:
    Counsel/Parties of Record
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